






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00199-CV







J.Q. Adams American Legion Post 223, Appellant


v.


Barbara Gallimore, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 146TH JUDICIAL DISTRICT

NO. 187,337-B, HONORABLE RICK MORRIS, JUDGE PRESIDING



	



	The parties have notified this Court that they have settled their dispute and will not
pursue the appeal any further.  We therefore dismiss the appeal.  Tex. R. App. P. 42.1(a)(1).



					                                                                                  

					Mack Kidd, Justice

Before Justices Kidd, Patterson and Puryear

Dismissed on Court's Motion

Filed:   May 23, 2002

Do Not Publish


